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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. 8:19-cv-00635-JLS-ADS                                    Date: September 25, 2020
 Title: Theresa Brooke v. Sunstone Von Karman, LLC

  Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

       Melissa Kunig                                         N/A
       Deputy Clerk                                     Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:             ATTORNEYS PRESENT FOR DEFENDANT:

                 Not Present                                   Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION FOR LACK
              OF PROSECUTION AND FAILURE TO COMPLY WITH
              THE COURT’S ORDER

         On August 25, 2020, the Court denied Plaintiff’s application for default judgment
 and gave Plaintiff leave to amend. (Doc. 38.) Plaintiff failed to amend by the stated
 deadline. On September 16, 2020, the Court issued an Order to Show Cause why the
 action should not be dismissed for failure to prosecute. (Doc. 39.) To date, the Court has
 not received a response from Plaintiff. Accordingly, the Court DISMISSES the action
 for failure to prosecute and for failure to comply with the Court’s order, and directs the
 clerk to close the case.

                                                                  Initials of Preparer: mku




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